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1                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
2                                  SOUTHERN DIVISION

3       _______________________________________

4       UNITED STATES OF AMERICA,

5                               Plaintiff,
                                                    DOCKET NO. 1:20-mj-416
6       vs.

7
        BRANDON CASERTA,
8
                            Defendant.
9       ________________________________________/

10

11                         TRANSCRIPT OF DETENTION HEARING

12            BEFORE UNITED STATES MAGISTRATE JUDGE SALLY J. BERENS

13                               GRAND RAPIDS, MICHIGAN

14                                  October 13, 2020

15

16      Court Reporter:                 Glenda Trexler
                                        Official Court Reporter
17                                      United States District Court
                                        685 Federal Building
18                                      110 Michigan Street, N.W.
                                        Grand Rapids, Michigan 49503
19

20      Proceedings reported by machine shorthand, transcript produced

21      by computer-aided transcription.

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16                                    *   *   *   *   *

17                                                Grand Rapids, Michigan

18                                                October 13, 2020

19                                                3:55 p.m.

20                               P R O C E E D I N G S

21                  THE COURT:    All right.      We are back on the record in

22      the matter of the bond hearing for Mr. Caserta.            Mr. Hills is

23      here with Mr. Caserta, as is the prosecutor, Mr. Kessler and

24      Mr. Hakes.

25                  Mr. Kessler, are you ready to proceed?
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1                   MR. KESSLER:     Yes, Your Honor.     As with the other

2       defendants, Your Honor, we're going to rely on the evidence you

3       heard during the prelim.       I'll just highlight a couple of

4       additional things here, evidence that is already in.

5                   I do have one additional exhibit, which I don't think

6       we really need to call Agent Trask up unless defense counsel

7       asks.    It's a video that Mr. Caserta posted himself.           It's

8       pretty obvious it's him from just looking at the video.             It's a

9       video of him, so . . .

10                  I'll just open this up so I can pull them up for you,

11      Your Honor.

12                  I focus your attention on Exhibit 20 in which the

13      defendant talks about -- or Defendant Caserta talks about being

14      accosted by two police officers which is when they wrote him

15      the ticket.     And let's see, on page 2 -- I'll blow this up

16      here -- this goes to his motive as well.          That he says he's

17      "tired of being coerced, robbed, and enslaved by pathetic

18      cowards."    That would be the police.        And he concluded the

19      sentence by saying "The end times are approaching for these

20      piece-of-shit cops.      I mean that with every cell in my body."

21                  On the next page --

22                  THE COURT:    Hang on just a second.

23                  MR. KESSLER:     Yes, Your Honor.

24                  THE COURT:    You may proceed.

25                  MR. KESSLER:     On the next page of that same exhibit,
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1       Exhibit 20.     And this, again, is not that long ago.         This is

2       September 19th.      After being pulled over by two police officers

3       he says "I have these two guys' names.          I'm considering doing a

4       recon.    They work the night shift.       I could easily tap them and

5       dip and no one would know a thing.         Good practice."

6                   Again, I'm sure he's going to say this was simply

7       talk, but we've seen all the training he's done, and he seems

8       to again be talking about tying up some loose ends if he were

9       to be out there free.

10                  And on Exhibit 25 he talks about -- with Mr. Garbin

11      about wanting to get a suppressor himself, a silencer.             And

12      talks about wanting one for either a 556, which would be a

13      AR 15-style semiautomatic rifle, or a 9-millimeter

14      semiautomatic pistol.

15                  And then I'm going to bring up Exhibit 29 if you're

16      ready, Your Honor.

17                  THE COURT:    Give me just --

18                  MR. KESSLER:     Mr. Hills, do you want us to call the

19      agent for this?

20                  MR. HILLS:    Maybe.    I don't have a problem with the

21      foundation right now.       I don't have a problem with the

22      foundation.

23                  MR. KESSLER:     I can proffer what it is.       Exhibit 29

24      is a video.

25                  THE COURT:    Hang on.    Hang on just a second.       Let me
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1       just catch up with you here.

2                   All right.    Exhibit 29, is that what you said?

3                   MR. KESSLER:     Proposed Exhibit 29 is a video that I

4       will proffer that if called as a witness Agent Trask would

5       testify was sent by Mr. Caserta to the other members of the

6       chat group on October 7th.        I can bring him up here to say

7       that.

8                   MR. HILLS:    No, that's okay.      I might have some

9       questions for him after I see the video.          I have not seen it

10      yet.

11                  THE COURT:    Understood.

12                  MR. KESSLER:     All right.    And this is a video that

13      was sent after he was pulled over by police again recently.              So

14      October 29.     Or Exhibit 29.     You know what, I'm going to do it

15      the other way.     It comes up sideways through this program.

16             (Video playing)

17                  THE COURT:    What was the date that you had associated

18      with that?

19                  MR. KESSLER:     October 7th, Your Honor.       Last Tuesday.

20      I have nothing further, Your Honor.

21                  THE COURT:    All right.     Mr. Hills.

22                  MR. HILLS:    I'm going to rely on the

23      Pretrial Services Report.       I'm going to make a comment about a

24      couple of family members in the court, but I don't have any

25      other evidence to show.
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1                   THE COURT:    All right.     All right.    I'll take

2       argument, Mr. Kessler.

3                   MR. KESSLER:     Yes, Your Honor.     Again, as with the

4       other defendants, the crime he was involved in is serious

5       obviously.     I think this last video was the most disturbing of

6       all.   When you put it together with Exhibit 20, he obviously

7       has a problem with authority, and by asking to be let out on

8       bond, that is what he is talking about.          That he's going to

9       somehow obey a piece of paper that's issued by the state which

10      he says is enslaving him and is the enemy and that he's wanting

11      to take out as many as he can.

12                  He pretty casually, like with the last defendant,

13      talks about killing people.        It's definitely concerning that

14      somebody pulls him over and he goes and finds out the names so

15      he can suggest doing a recon and then murdering them for

16      practice.

17                  And then this last video obviously.         You know, the

18      whole notion of -- he seems extremely angry about being

19      so-called enslaved by the state.         I think it's hard to imagine

20      he's going to follow the Court's orders.

21                  Besides the obvious thing that we see in the videos,

22      the Pretrial Services Report also points out some

23      anger-management type issues he has.          He's had some mental

24      health issues which he denies.        And actually it's more

25      concerning that he denies them than he would be acknowledging
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1       them.    It's a dismissed charge, but he has a charge in the past

2       for assault and battery which suggests again the same

3       propensity towards violence.        And also the propensity for just

4       doing what he wants and disregarding authority, which

5       ordinarily I wouldn't highlight things like driving on a

6       suspended license, which underlies his hatred of the police,

7       but it's over and over again.        And we see that he has license

8       revoked and he keeps driving on a suspended license despite

9       being convicted for it over and over again.           And then if he

10      gets pulled over thinks that it's the cops' fault and they

11      deserve to die for it.       So I think under all those

12      circumstances, Your Honor, we really can't trust him to abide

13      by the Court's orders and letting him go would be not safe for

14      the public.

15                  THE COURT:    Can you reference what you're telling me

16      about anger-management issues?        Other than the assault and

17      battery.

18                  MR. KESSLER:     I am inferring from that, Your Honor.

19                  THE COURT:    I'm sorry?

20                  MR. KESSLER:     I'm inferring from that.

21                  THE COURT:    I see.

22                  MR. KESSLER:     And there's mental health issues and

23      the whole totality.

24                  THE COURT:    Okay.    Thank you.

25                  MR. KESSLER:     Yes, Your Honor.
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1                   THE COURT:    Mr. Hills.

2                   MR. HILLS:    Thank you, Your Honor.       Well, the assault

3       and battery was when my client was 19 years old and the case

4       was dismissed.

5                   As far as driving on a revoked license, it's a no ops

6       on person, operating without a license on person.            It's not

7       driving without.      And they are very, very minor cases.         And the

8       last one was six years ago.        I don't think criminal history is

9       really an issue for the Court.        I don't think it will consider

10      that weighing very heavily at all.

11                  As far as mental health issues, it looks like he may

12      have been diagnosed with attention deficit hyperactivity

13      disorder, excessive compulsive disorder, and Tourette's when he

14      was a child, and he was prescribed medication and it resolved.

15      That's the only thing I see regarding that.

16                  Regarding other characteristics, his history and

17      characteristics, I don't think he has any mental health issues.

18      He's got strong family ties.        He's got his aunt in the

19      courtroom today.      He's got his stepbrother in the courtroom

20      today.    I've been in contact with his mother who is very

21      supportive of him.

22                  He has solid long-term employment for two years

23      nine months I believe it indicates.         With a nice job.      A very

24      good job, stable job.       He's been in the same I believe

25      apartment for three years, I believe.          Since 2007.    He's lived
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1       in Michigan all his life.       His criminal history is negligible.

2       He's not on parole or probation at all.

3                   Regarding the incidents that we -- I guess spurred

4       this video and some comments on the encrypted chat came from a

5       stop by the police.      There was no incident on the road.         No

6       offensive behavior on the road.         There was no follow-through.

7       I think it was September 19th, I believe, the stop was, so

8       there's plenty of time to do what he's talking about.             Recon,

9       try and find out where these officers lived.           Try and do

10      something.     He did none of that, right?       He's just sort of this

11      inflammatory, clearly, rhetoric is what I would call it.

12                  And I believe that that kind of leads into what the

13      Court has been considering the more important issue for bond

14      which is dangerousness and the offense itself.            So when I look

15      at it, it's the same pattern throughout, and I'll go through

16      some of it, but it's inflammatory rhetoric with no

17      follow-through.      Especially in this.

18                  In this case if you look at the Complaint, my client

19      doesn't -- Mr. Caserta does not show up until June 28th.

20      That's at the Munith training.        And that's what it is.       It's an

21      FTX, completely legal.       I'm not sure which training that video

22      was from, but it was my client doing the training.            And that's

23      about it.

24                  He went next to Wisconsin.        The big thing about

25      Wisconsin was the balloon with the BBs in it as an IED, which
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1    my client wasn't a part of that at all.          He's there to do the

2    training.

3                After that I believe it's Lake Orion, and that's not

4    a training.    That's where they get together.         And again my

5    client makes a statement.       It's inflammatory rhetoric is what I

6    would call it.     It's not any aspect of planning for kidnapping

7    the governor.

8                And then finally, the last place my client was in the

9    Complaint was Luther.      September, I think, 12th and 13th was

10   that event.    And that again is a training.        And the big thing

11   at that particular event was a second surveillance.            There was

12   one before that which my client wasn't a part of.            And then at

13   that Luther event there was a three-car surveillance that they

14   did with multiple people that my client wasn't a part of.                My

15   client wasn't a part of any of the specific planning.            He

16   wasn't a part of any of the surveillance.          None of the recon.

17   None of the map making.       None of the IEDs.     He didn't

18   contribute any money.      He was not a leader, I guess, as they

19   testified.    So when you take all of that together, and his

20   history and characteristics, I don't think the dangerousness

21   applies to my client as far as the conspiracy to kidnap charge.

22   So I would ask the Court to take all that together and the fact

23   that my client wasn't there on October 7th.          He didn't bring

24   money to that final meeting, I suppose.          And he was

25   cooperative.    There's no indication that he has anything
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1    illegal in his apartment.       There are conditions that can be

2    met.   Obviously no weapons, electronic monitoring I think would

3    be appropriate, and I would ask the Court to follow

4    Pretrial Services' recommendation in that regard.            Thank you.

5                THE COURT:    Mr. Kessler.

6                MR. KESSLER:    Yes, Your Honor.      This is a minor thing

7    I would just point out.       While he was convicted of operating

8    without a license on the person, both of those times the

9    charge -- it says the charges were reduced from driving while

10   license was suspended or revoked.        Again, I'm not suggesting

11   those are the most serious crimes in the world, they just go to

12   his attitude towards conditions that are placed upon him by the

13   court or by the law in general.

14               I would also -- I'm going to go ahead and agree with

15   Mr. Hills that it doesn't appear to me either that he's a

16   leader of this group.      And, again, you don't need to be a

17   leader to be dangerous.       You don't need to be a leader to be

18   part of a conspiracy, and you don't need to be a leader to be

19   dangerous.    Sometimes the followers can be the most dangerous.

20               I think just from what we've seen of Mr. Caserta's

21   attitude towards the state, towards law enforcement, it may be

22   inflammatory rhetoric, but it seems pretty sincere that it's

23   coming from the heart that he feels he's being enslaved by the

24   state.   He may be the most motivated of all these people.               Not

25   so much by any high-fluting political ideas about the
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1    Constitution but just hatred for the police and the state and

2    he wants to use the firearm skills he's been training on.                I

3    just don't think it's a great idea to let him out, Your Honor.

4                THE COURT:    Thank you.

5                All right.    Mr. Caserta, this matter is governed by

6    the Bail Reform Act of 1984.        Under the Bail Reform Act I have

7    to release you on bond unless I find either by a preponderance

8    of the evidence that you are a risk of flight or nonappearance

9    or by clear and convincing evidence that you're a danger to the

10   community.    I'm required to consider the least-restrictive

11   condition or combination of conditions that will reasonably

12   assure your appearance and the community's safety.            And I have

13   considered each of the possible conditions set out in the

14   statute as well as in particular those suggested by the

15   Pretrial Services Report.

16               In determining whether there are sufficient

17   conditions to reasonably assure your appearance and the safety

18   of the community, I have to consider a number of factors:                I

19   have to consider the nature and circumstances of the offense

20   charged here, a very serious and violent offense; I also have

21   to consider the weight of the evidence of dangerousness; and

22   your history and characteristics; and the nature and

23   seriousness of danger to any person or the community that would

24   be posed by your release.

25               So in going through what is in front of me, the
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1    defendant is 32 years old.       He is a life-long Michigan

2    resident.    He has apparently very solid housing and employment.

3    Strong family ties.      I don't see a current mental health issue.

4                And while I take Mr. Kessler's note regarding prior

5    offenses related to licensing and operating without a license,

6    that kind of offense, the criminal history here is not so

7    serious that I would give it a lot of weight in terms of a bond

8    decision.

9                In addition, Mr. Hills is correct that unlike some of

10   the other folks involved or alleged to be involved in the

11   conspiracy, there is less in the way of involvement, of taking

12   independent steps, I guess, is the best way to put it with

13   regard to Mr. Caserta as compared to some of the other

14   defendants.

15               The evidence as I see it involves starting on

16   June 28th Mr. Caserta is in attendance at this tactical

17   training exercise in Munith.        Others, including Mr. Caserta --

18   or there are folks that stay there.         Mr. Franks leaves but

19   others stay.    And everyone is told to leave if they are not

20   willing to participate in attacks against the government and in

21   kidnapping politicians.

22               Mr. Caserta is next present at a field training

23   exercise in Wisconsin on July 10 through 12.           There is an

24   attempt by others, not Mr. Caserta, to construct an IED which

25   failed.    And there is nothing, at least nothing that has been
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1    demonstrated to me, that is illegal about these field training

2    exercises.    Although, of course, they go to the background of

3    later discussions.      They also appear to be the situation or the

4    scene for the discussions that take place about this larger

5    plot.

6                Next, September 12 through 13, there is another field

7    training exercise in Luther where an IED is constructed and

8    detonated.    At that exercise Mr. Fox takes a number of the

9    defendants, including Mr. Caserta, aside to brief them on the

10   plot.   Mr. Caserta does not, however, go on the surveillance

11   mission that evening and remains at the camp.

12               There was more discussion of the plot to kill or --

13   excuse me -- plot to kidnap Governor Whitmer on September 13th

14   and the group agrees to discuss a field training exercise.               Or

15   to conduct a field training exercise, excuse me, in

16   late-October.

17               I skipped over a statement that Mr. Caserta made on

18   August 23 which is a little bit difficult to interpret, and so

19   I'm not going to place a lot of weight on that one.            There are

20   other statements, unfortunately, that are more serious.

21               On September 17 in an encrypted group chat that

22   Mr. Caserta is in there's this discussion about whether or not

23   to participate in the protest at the Capitol.           And Mr. Caserta

24   rejects that idea altogether and says essentially that it's

25   dumb because when the time comes -- "When the time comes, there
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1    will be no need to try and strike fear through presence, the

2    fear will be manifested through bullets."

3                Mr. Hills argues that that is just rhetoric,

4    inflammatory rhetoric, but that there's no follow-through.               It

5    is not clear at this point whether or not the lack of

6    follow-through was a result of -- at least to me from

7    Mr. Caserta's point of view -- well, what the reason for the no

8    follow-through was.      And it may well be that it is simply the

9    FBI's intervention that prevented follow-through in each of

10   these cases.    Or for each of these threats.

11               Mr. Caserta, as also noted by the government, in

12   Exhibit 20 there is the discussion of the police officers and

13   that he says "The end times are approaching for these

14   piece-of-shit cops.      I mean that with every cell in my body.

15   Our time is coming soon, boys, and it's going to be

16   satisfying."

17               He talks about he has their names.         He talks about

18   doing a recon.     "They work night shift.       I could easily tap

19   them and dip and no one would know a thing.          Good practice."

20               Exhibit 25 discusses getting a suppressor.          And while

21   that may be done legally, I would note that the government has

22   introduced that, I don't put a lot of weight on that particular

23   piece of evidence.

24               And then there is Exhibit 29 which is the video, and

25   that is, unfortunately, sufficiently threatening to police
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1    officers.    I mean really very chilling.        "I'm taking out as

2    many of those motherfuckers as I can.         Don't give them a

3    chance."    That discussion really makes it impossible to require

4    a probation officer to supervise Mr. Caserta when there is that

5    overt threat to law enforcement officers.          And I cannot take --

6    or I cannot credit Mr. Harris's [sic] argument that this is all

7    simply inflammatory rhetoric and that no follow-through is

8    intended when it appears based on the testimony that we've

9    heard over the course of today that follow-through is exactly

10   what was intended but for intervention.

11               So considering all of that, and in particular the

12   specific threats to law enforcement officers, I find by clear

13   and convincing evidence that there is no condition or

14   combination of conditions that will reasonably assure the

15   safety of the community or of other persons.

16               I have considered, of course, what Mr. Hills argues

17   regarding no weapons, electronic monitoring, but I just do not

18   think in this circumstance that that is sufficient to overcome

19   the threats that Mr. Caserta has made repeatedly.            So it will

20   be my order that Mr. Caserta be held in custody pending the

21   trial in this matter.

22               Now, Mr. Caserta, I expect that you don't agree with

23   my decision, but did you understand everything that happened in

24   court today?

25               DEFENDANT CASERTA:      Yeah, I did.
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1                THE COURT:    All right.      What will happen next is

2    there will be continued hearings on Friday, and from there the

3    Court -- or the case will progress.

4                Mr. Kessler, anything else we have to take up today?

5                MR. KESSLER:    No, Your Honor.       Thank you.

6                THE COURT:    Mr. Hills?

7                MR. HILLS:    No.     Thank you, Your Honor.

8                THE COURT:    Then we'll be adjourned.

9                THE CLERK:    All rise, please.       Court is adjourned.

10         (Proceeding concluded at 4:20 p.m.)

11                                 *   *   *   *   *

12                                   CERTIFICATE

13               I certify that the foregoing is a transcript from the

14   Liberty Court Recording System digital recording of the

15   proceedings in the above-entitled matter, transcribed to the

16   best of my ability.

17               I further certify that the transcript fees and format

18   comply with those prescribed by the court and the Judicial

19   Conference of the United States.

20

21   October 28, 2020

22

23                                     /s/ Glenda Trexler      __________
                                       Glenda Trexler, CSR-1436, RPR, CRR
24

25
